     AO 442(Rev.11/11)ArrestWarrant'                                              '

                                       U NITED STATESD ISTRICT COURT
                                                                   forthe
                                                        W esternDistrictofVirginia

                      United StatesofAm erica
                                M.
                                                                            casexo.l:!: G J 57
                        JAMES L.JORDAN
                             Defendant.

                                                    AR R EST W A RR AN T
    'To
      ':    Any authorized Iaw.énfbrcemçntoftk er

            YOU AQE COM M ANDED toarrestandbring befom aUnitedStatesmagistratejudgewithoutunnecessarydelay
                                                                                                           '
    (nameofpersontobearreste@ JAMES L. JORDAN                . '              .                                               ,
    whoisaccused ofan offense orviolation basedon thefollowipg documentfiledwitilthecotut              '

.
    I
    D Indictment           O SupçrsedingIndictment
                                                ,
                                                           O lnformation O SupersedingInformation V Complaint
                                                                                                   .                  '

    O Probation Violation Petition        O Supervised ReleaseViolation Petition       O ViolatiohNotice I
                                                                                                         D OrderoftheCourt
    Thisoffense isbriefly described asfollows:
      18U.S.C.jj113(assaul
                         twithintenttocommittomurderwithinthesjecialmaritimeandterritorialjurisdictionofthe
      Uni
        tedStatesl'& 1111(murdqrwithinthespecialmaàitimeandterritorlaljurisdictionoftheUnitedStatès)''




    oate,      ,, /,lœ' o'
                         .ij.
                            ..                                                         Issuingo'cer'
                                                                                                   ssignature             '
    City and state:     Abingdon,VA                 '          .            HONORABLEJUDGE PAMELA MEADESARGENT
                                                                                         Prîntednameandtitle

                                                                   Return                                  ' .
                                                                                                                                  '
                                                                                                           j
            Thiswarrantwasreceived on (date)              .            ,andthepersonwasarrested on (date)         .
    at(cit
         yandstate)                                 '         .

    Date:
                                                                                      Arrestingtl
                                                                                                ' tw %siv ature

                                                                                         Printednameandtiile


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